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March 5, 2024

VIA ECF

Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

Re: United States v. Menendez et al., No. S2 23 Cr. 490 (SHS)

Dear Judge Stein:

We write on behalf of Defendants Senator Robert Menendez, Nadine Menendez, Wael Hana and
Fred Daibes to respectfully request an in-person or telephonic conference to seek the Court’s
guidance on a schedule for pretrial disclosures and related deadlines.

Consistent with Your Honor’s Order of February 23, 2024 (ECF No. 197), Defendants sent the
government their revised pretrial deadline proposal on Monday, February 26, 2024; the
government responded a few minutes before midnight on Friday, March 1. Defendants then
suggested that the parties meet and confer, which we did yesterday by phone.

It now seems that the parties are at an impasse. Specifically, although the Court has ordered trial
to commence on May 6, 2024, the government refuses to identify a date certain (i) for the
government to produce 3500 Material, a witness list, and exhibit list; (ii) for the parties to file
motions in limine; and (iii) for the parties to provide proposed jury instructions and voir dire.
Instead, the government insists on “floating” deadlines that are contingent on the Court’s ruling
resolving the Senator’s Speech or Debate Clause motion, fearing that if there were set deadlines,
there would be a risk that Defendants would receive discovery too early and have too much time
to prepare for trial.

We list the certain of the parties’ competing proposed deadlines in the chart below:

 Category                     Defendants’ Proposed             Government’s Proposed
                              Deadline                         Deadline
 Production of Government’s March 7 (60 days before            To be produced on a rolling basis,
 3500 Material, Witness List, trial)                           and subject to supplementation in
 and Exhibit List                                              good faith, starting on the later
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                                                                of: (a) April 19 [16 days before
                                                                trial], or (b) 15 days after a ruling
                                                                by the Court resolving
                                                                Menendez’s Speech or Debate
                                                                motion.
 Motions in Limine               Moving briefs – April 3        Motions due the later of (a)
                                 Opposition briefs - April      March 29, or (b) 15 days after a
                                 10                             ruling by the Court resolving
                                 Reply briefs - April 15        Menendez’s Speech or Debate
                                                                motion, with Responses due 14
                                                                days later, and Replies due 7 days
                                                                after responses.
 Jury Instructions/Voir Dire     April 8                        Parties to file their proposed voir
                                                                dire and jury instructions by the
                                                                later of (a) April 22 or (b) 15
                                                                days after a ruling by the Court
                                                                resolving Menendez’s Speech or
                                                                Debate motion.

In effect, the government’s position is that it should be permitted to withhold 3500 Material and
its witness and exhibit lists until two weeks before trial, at the earliest, and possibly later if the
Senator’s Speech or Debate Clause motion is unresolved by April 5. We expect the
government’s 3500 and Giglio disclosures to include tens of thousands of pages of materials,
leading up to a trial estimated to last nearly two months—this on top of the millions of pages of
discovery already produced, and still in the process of production, not including classified
information as to which an order was just entered today. Put simply, under these circumstances,
the government’s proposal is deeply unrealistic and reflects an effort set a pretrial disclosure
schedule that would serve to provide the government with a tactical advantage. Indeed, the
government’s stated reason for its position is purely tactical: the government has said that it
wants to avoid the production of trial materials before one side or the other seeks an interlocutory
appeal of the Court’s ruling on Senator Menendez’s Speech or Debate Clause motion, which the
government fears may result in an adjournment of the Court’s May 6 trial date simply because
that would give the Defendants more time with its exhibits and witness statements.

But the government’s position makes no sense. First, and foremost, it assumes that the trial date
of May 6 is tentative and seeks to avoid the consequences of the Court’s order beginning trial on
that date. But it was the government that opposed defendants’ request for even a brief
adjournment of the May 6 trial date; the government cannot have it both ways by insisting on the
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May 6 trial date while treating its pretrial obligations as if that date were somehow tentative or
hypothetical.

Second, there is no certainty that either party will decide to file an interlocutory appeal. Any
such decision is based on a series of assumptions about the Court’s potential ruling, and litigants’
views as to the likelihood of success on appeal.

Third, even if there is an interlocutory appeal, it may be that the non-movant will challenge any
such right to appeal, and that one or both sides will seek expedited review, as a result of which
any potential appellate review will not delay the trial beyond May 6, thus mooting the
government’s supposed concerns about giving the defendants “extra time” with pretrial
disclosures.

Fourth, even if there is an interlocutory appeal (and even if the appeal results in a modest delay
of trial), the government has no right to thwart the defense’s attempts to prepare for trial by
withholding necessary preparation materials until a late date, thereby also depriving the Court of
sufficient time to review motions in limine, voir dire, and jury instructions, and potentially
necessitating a well-supported motion to adjourn the May 6 trial in the event the government
dumps, as expected, tens of thousands of pages of materials on the defense roughly two weeks
before the start of a long trial.

In our discussions, the government has drawn a line in the sand, and stated that it will not
consider any proposal that permits defendants to possess 3500 Material or the government’s
witness and exhibit lists while there remains a risk of a potential interlocutory appeal and
hypothetical risk of delay to the May 6 trial date. Defendants, by contrast, believe that, with a
trial currently set for May 6, a firm schedule should be implemented unless and until the trial is
postponed, for whatever reason.

Given the parties’ irreconcilable views, Defendants respectfully submit that an in-person or
telephonic conference would be the most efficient method to resolve this dispute.


                                                      Respectfully submitted,

                                                      /s/ Adam Fee
                                                      Adam Fee
                                                      Avi Weitzman

                                                      Attorneys for Defendant Robert Menendez
